            Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 1 of 86 Page ID #:1



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                  Justin R. Felton, Esq., SBN 299398
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              3   Los Angeles, CA 90045
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              4   Facsimile: (310) 649-5777
                  E-mail: bdangelo@pettitkohn.com
              5           jfelton@pettitkohn.com
              6   Attorneys for Defendant
                  WALMART STORES, INC.
              7

              8                         UNITED STATES DISTRICT COURT
              9                       CENTRAL DISTRICT OF CALIFORNIA
             10   LATRICE THOMAS,                            CASE NO.: 2:18-CV-03422
             11                       Plaintiff,              NOTICE OF REMOVAL OF
                                                              ACTION PURSUANT TO 28 U.S.C.
             12   v.                                          SECTIONS 1332 AND 1441(a) and
                                                              (b)
             13   WALMART, INC., a corporation;
                  and DOES 1 - 25, inclusive,
             14
                                      Defendant(s).          Courtroom:
             15                                              District Judge:
                                                             Magistrate Judge:
             16                                              Complaint Filed: July 10, 2017
                                                             Trial Date:       None Set
             17

             18         TO THE CLERK OF THE ABOVE-ENTITLED COURT:
             19         PLEASE TAKE NOTICE that Defendant WALMART STORES, INC.
             20   (“WalMart”), by and through its counsel, hereby removes that above-entitled action
             21   filed by Plaintiff LATRICE THOMAS (“Plaintiff”) in the Superior Court of the
             22   State of California, County of Los Angeles, Case No. BC661128 to the United
             23   States District Court, Central District of California pursuant to 28 U.S.C. §1441,
             24   and respectfully alleges as follows:
             25         1.     Jurisdiction of this action is founded upon 28 U.S.C. §§1332, 1441(a)
             26   and (b) as the matter in controversy exceeds the sum or value of $75,000, exclusive
             27   of interest and costs, and is between citizens of different states.
             28   ///
                                                              1
2354-8885                                                             NOTICE OF REMOVAL OF ACTION
                                                                              CASE NO.: 2-18-CV-03422
            Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 2 of 86 Page ID #:2



              1         2.     On May 11, 2017, an action was commenced in the Superior Court of
              2   the State of California, County of Los Angeles, entitled Latrice Thomas v.
              3   WalMart, Inc., Case Number BC661128 (“the State Action”). A copy of the
              4   complaint filed in the State Action is attached hereto as Exhibit “1”.
              5         3.     Plaintiff’s complaint does not indicate what state Plaintiff is a citizen
              6   of nor does it indicate where she is domiciled. See Exhibit “1”.
              7         4.     Walmart was served with a copy of the complaint filed in the State
              8   Action and a summons from the State Court on January 18, 2018. A copy of the
              9   Proof of Service re Summons is attached hereto as Exhibit “2”.
             10         5.     WalMart timely filed its Answer to Plaintiff’s complaint along with a
             11   Demand for Jury Trial in the State Action, on January 26, 2018, attached hereto as
             12   Exhibit “3”.
             13         6.     Based on a review of the State Court file as of April 24, 2018, no other
             14   Defendant has been served with any summons or complaint in the State Action. No
             15   proceedings have been had in the Los Angeles Superior Court. The Los Angeles
             16   Superior Court set a trial date of November 13, 2018.
             17         7.     Plaintiff’s complaint purports to assert causes of action for personal
             18   injury and premises liability. Plaintiff’s complaint seeks to recover damages for
             19   loss of earning capacity, hospital and medical expenses, future medical expenses,
             20   and past and future general damages.
             21                  DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332 (A)
             22         8.     This Court has jurisdiction over this matter under 28 U.S.C. § 1332 (a)
             23   (1), because there is complete diversity as the parties are citizens of different states,
             24   and the amount in controversy exceeds $75,000.00, exclusive of interest and costs.
             25   Removal is therefore proper pursuant to 28 U.S.C. §§ 1441 (a) and (b).
             26         9.     On or about April 2, 2018, Plaintiff served a Statement of Damages
             27   along with her Complaint. In that statement, Plaintiff identified over
             28   $1.0 M in general damages, past medical expenses, future medical expenses, and
                                                              2
2354-8885                                                             NOTICE OF REMOVAL OF ACTION
                                                                              CASE NO.: 2-18-CV-03422
            Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 3 of 86 Page ID #:3



              1   loss of future earning capacity. (A true and correct copy of Plaintiff’s response to
              2   Statement of Damages is attached as Exhibit “4”.)
              3         10.    On January 25, 2018, Defendant served Form Interrogatories, Set One
              4   to Plaintiff, specifically requesting information related to Plaintiff’s domicile for the
              5   past five (5) years. A true and correct copy of Defendant’s Form Interrogatories, Set
              6   One is attached hereto as Exhibit “5”. Defendant also concurrently served Request
              7   For Admissions, Set One. (A true and correct copy of Defendant’s Request for
              8   Admissions, Set One is attached to the Notice of Removal as Exhibit “6”.)
              9         11.    After numerous extensions on answering discovery, Plaintiff
             10   responded to Wal-Mart’s Form Interrogatories, Set One and Request for
             11   Admissions, Set One, on April 2, 2018. (Attached as Exhibit “7” is a true and
             12   correct copy of Plaintiff’s verified responses to Defendant’s Form Interrogatories,
             13   Set One, with a proof of service via regular mail dated April 2, 2018; See also
             14   Exhibit “8” verified responses to Defendant’s Requests For Admissions, Set One,
             15   with a proof of service via regular mail dated April 2, 2018.)
             16         12.    These responses indicate that Plaintiff is a citizen and resident of
             17   California with a residence and domicile for the past five (5) years located in Los
             18   Angeles, California. (See Exhibit “7”, response 2.5, and Exhibits “6” &“8”,
             19   numbers 21 and 221. See also Lew v. Moss, 797 F.2d 747, 749 (9th Cir. 1986).)
             20   Plaintiff also admitted in her verified response to Defendant’s Request for
             21   Admissions number 19 that her damages are in excess of $75,000.
             22         13.    Wal-Mart was and is a corporation incorporated under the laws of the
             23   State of Delaware and having its principal place of business in the State of
             24   Arkansas, and is therefore a citizen of the State of Delaware and State of Arkansas.
             25   Attached to the Notice of Removal as Exhibit “9” is a true and correct copy of
             26   WalMart’s Corporate information from the California Secretary of State Business
             27   Portal.
             28   ///
                                                             3
2354-8885                                                             NOTICE OF REMOVAL OF ACTION
                                                                              CASE NO.: 2-18-CV-03422
            Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 4 of 86 Page ID #:4



              1         14.    Complete diversity of citizenship exists in that Plaintiff is a citizen of
              2   the State of California, County of Los Angeles; Co-Defendant WalMart is a citizen
              3   of the State of Arkansas, where it is headquartered, and the State of Delaware,
              4   where it is incorporated. Attached to the Notice of Removal as Exhibit “10” is a
              5   true and correct copy of Arkansas Secretary of State Business Portal.
              6         15.    Additionally, as noted above, the amount in controversy, exclusive of
              7   costs and interests, exceeds the minimum requirement required for diversity
              8   jurisdiction under 28 U.S.C. § 1332 (A).
              9         16.    Because the State Action is pending in the Superior Court of California
             10   in and for the County of Los Angeles, removal of this action to this District Court is
             11   proper under 28 U.S.C. section 1441 (a).
             12         17.    Removal is timely under 28 U.S.C. section 1446 (b) because this
             13   Notice of Removal is filed within 30 days of WalMart receiving notification from
             14   Plaintiff’s discovery responses that she is a citizen of California and that the total
             15   amount in controversy exceeds the jurisdictional requirements of $75,000,
             16   exclusive of costs and interests.
             17         18.     Written notice of the filing of this Notice of Removal will be promptly
             18   served on Plaintiff. A true and correct copy of this Notice of Removal and the
             19   concurrently-filed Notice of Interested Parties and Civil Cover Sheet will be filed
             20   with the Clerk of the Superior Court of the State of California in and for the County
             21   of Los Angeles as soon as practicable.
             22   ///
             23   ///
             24   ///
             25   ///
             26   ///
             27   ///
             28   ///
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2354-8885                                                            NOTICE OF REMOVAL OF ACTION
                                                                             CASE NO.: 2-18-CV-03422
            Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 5 of 86 Page ID #:5



              1         WHEREFORE, WalMart requests that the above-entitled action be removed
              2   from the Superior Court of the State of California, County of Los Angeles, to this
              3   District Court.
              4

              5
                                                  PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
              6

              7

              8   Dated: April 24, 2018           By:   s/ Justin R. Felton__________
                                                        Andrew O. Smith, Esq.
              9                                         Justin R. Felton, Esq.
                                                        Attorneys for Defendant
             10                                         WALMART STORES, INC.
                                                        aosmith@pettitkohn.com
             11                                         jfelton@pettitkohn.com
             12

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2354-8885                                                          NOTICE OF REMOVAL OF ACTION
                                                                           CASE NO.: 2-18-CV-03422
            Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 6 of 86 Page ID #:6



              1                            CERTIFICATE OF SERVICE
              2         I hereby certify that the following document(s):
              3   NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C.
                  SECTIONS 1332 AND 1441(a) and (b)
              4
                  was/were served on this date to counsel of record:
              5
                        [ X ] BY MAIL: By placing a copy of the same in the United States Mail,
              6               postage prepaid, and sent to their last known address(es) listed below.
              7         [ ]   BY E-MAIL DELIVERY: Based on an agreement of the parties to
                              accept service by e-mail or electronic transmission, I sent the above
              8               document(s) to the person(s) at the e-mail address(es) listed below. I
                              did not receive, within a reasonable amount of time after the
              9               transmission, any electronic message or other indication that the
                              transmission was unsuccessful.
             10
                        [ ]   BY ELECTRONIC TRANSMISSION: I electronically filed the
             11               above document(s) with the Clerk of the Court using the CM/ECF
                              system. The CM/ECF system will send notification of this filing to the
             12               person(s) listed below.
             13   Farid Yaghoubtil, Esq.
                  Downtown L.A. Law Group
             14   3470 Wilshire Blvd, Suite 634
                  Los Angeles, CA 90010
             15   Tel: (213) 389-3765
                  Fax: (877) 389-2775
             16   Email: Farid@downtownlalaw.com
                  Attorneys for Plaintiff
             17   LETRICE THOMAS
             18   Executed on April 24, 2018, at Los Angeles, California.
             19
                                                        /s/ Lisa Seals
             20
                                                         Lisa Seals
             21

             22

             23

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2354-8885                                                          NOTICE OF REMOVAL OF ACTION
                                                                           CASE NO.: 2-18-CV-03422
Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 7 of 86 Page ID #:7




                   TABLE OF CONTENTS OF EXHIBITS
                           NOTICE OF REMOVAL


 EXHIBIT                         DESCRIPTION                             PAGE

     1       Complaint filed in the Superior Court of the State of
             California in and for the County of Los Angeles, on May      7
             11, 2017 in case number BC661128

     2       Proof of Service of Summons for Wal-Mart Store dated         13
             January 18, 2018

     3       Answer to Complaint and Demand for Trial by Jury filed       15
             in Superior Court of State of California for County of
             Los Angeles on January 26, 2018

     4       Plaintiff’s Statement of Damages, served on April 2,         25
             2018
     5       Form Interrogatories, Set One, to Plaintiff, served on       28
             January 25, 2018
     6       Request For Admissions, Set One, to Plaintiff, served on     38
             January 25, 2018

     7       Plaintiff’s verified responses to Defendant’s Form           44
             Interrogatories, Set One, with a proof of service via
             regular mail dated April 2, 2018
     8       Plaintiff’s verified responses to Defendant’s Request for    76
             Admissions, Set One, with a proof of service via regular
             mail dated April 2, 2018
     9       California Secretary of State Business Entity Detail         83


     10      Arkansas Secretary of State Business Entity Detail           85
    Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 8 of 86 Page ID #:8


                  'ill
                                             I                                           S

             .1 FARID YAGROUBrIL, ESQ., State Bar No. 282476                                 s   4ffD
                 DANIEL AZIZI, ESQ., State Bar No. 268995                                              usbA
               2 DOWNTOWN L.A. LAW GROUP
                                                                                                 MAY 112017
               3 3470 Wilshire Blvd., #634
                 Los Angeles, CA 90010
               4 TeL (213)389-3765
                 Fax: (877)389-2775
               5 Entail: Paridadowntownlalaw:com          I I      A-i                                                   ad
                                                                                                                          —4
                                                                                                                         -4
               6                                                                                                         'a.
                   7 Attorneys forPlaintiff
                   8
                     LATRICE THOMAS                          D         .
                                                                             t-\-
                   9
F                 10
                                                 SUPERIOR COURT OF CALIFORNIA
                                    FOR THE COUNTY OF LOS ANGELES -STANLEY MOSK
                  1!
    m;            12
            CEP
                       LATRICE THOMAS, an individual,                      CaseNoSC6 611281
    v.g 13                                                                                                               I-
    3W                                         Plaintig                    Judge:
                                                                           Dept.:
                               V.
                                                                           (UNLIMITED CIVIL. ACTION)                     till
                                                                                                                         Si
                  16   WALMART, INC., a corporation; and DOES              (DEMAND EXCEB S $25,000)
                       1-25, inclusive,                                                                                  a
                  17                                                                                                     .4
                                                                           COMPLAINT FOR DAMAGES:
                                               Defendants.
                  18
                                                                                    NEGLIGENCE
                  19                                                                PREMISES LIABILITY
                  20                                                       [JURY TRIAL DEMANDED]
                  21
                  22
                              COMES NOW, Plaintiff, LATRICE THOMAS, and alleges against Defendants,
                  23
                                                                                                                 fl      rc
                       each of them, as follows:
                  24
      iCE                     1.      PlaIntiff is Informed and bellens, and based upon such                             Sm
      'I.
      •           25
                       alleges that at all timesrelevant hereto Defendants WALMART, INC., and DOE          1-fl at
                       and at all times herein mentioned where individuals, corporations, sole proprietors,          2
      L; a             shareholders, associations, partners and partnerships, Joint venturers, and/or buslnessenfities




                                                                                                         EXHIBIT 1
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                                   .
Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 9 of 86 Page ID #:9


                                                                                 S

                uzUmowu, primarily residing and doing business in the county of Los Angeles, State of
           2   California. At all tinià herein mentioned, said Defendants were the owners, lessors, sub.
           3    lessors, managing agents, landlords, renters, managers, operators, marketers, inspectors,
           4 maintainers and controller; of a commercial property located at 4101 Crenshaw Blvd. LoE
           5   Angeles, CA 90008, (hereinafter referred to as "THE SUBJECT PREMSESI, to which
           6   building the general public is Invited to come.
           7                   Defefldants DOES 1-25, inclusive, are sued herein under fictitious names,
           8   their tire names and capacities being unknown to Plaintiff. Plaintiff will amend this
          9    complaint to allege their tree names and capacities when ascertained. Plaintiff is informed
         10 and believes and thereon alleges that each of the fictitiously named Defendants is rcsponsibl
         11    in some manner for the occurrences herein alleged, and that Plaintiffs damages as herein
a.* .12 alleged were proximately caused by those Defendants.
Us
0i4g 13                        At all times herein mentioned, each of the Defendants were the agents,
         14    servants, and employees of their co-defendants, and in doing the things hereinafter alleged
         15 were acting in the scope of their authority as agents, servants and employees, and with
         16 permission and consent of their co-defendants. Plaintiff is fbrther infbimed and believes, an
         17    thereon alleges, that each of the Defendants herein gave consent to, ratified, and.authorized
         18    the acts alleged herein to each of the remaining Defbndnts.
         19.
         20                                    PIRST CAUSE OF ACTION
         21                                           NEGLIGENCE
         22                                       (Against All Defendants)
         23                    Plaintiff re-alleges each and every allegation contained In the above:
         24    Paragraphs I through 3, and by this reference incorporates SM paragraphs as though
         25    forth herein.
 p...
 '       26           S.       On or about December 3) 2015, Plaintiff was lawfizlly on the premises of
     -

 p.-     27 Defendant WALMART, INC. Plaintiff
                                              LATRICE THOMAS had finished her breakfast at
         28
            the WALMART, INC., when her foot got caught on the raised mat on the stairs that was not




                                                                                                   EXHIBIT 1
                                                                                                   8
Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 10 of 86 Page ID #:10




            I   properly placedfsecured causing her to trip and fall down the stairs. At all dines herein
            2 mentioned, defendants, and each of them, had sole and exclusive custody and control of the
            3   aforesaid building and activities occurring at said building, and owed a duty to this plaintiff
            4 and Others lawfully on said premises to keep said premises In a good and safe condition;

                contrary thereto, defendants, and each of them, were negligent, careless and reckless in the
            6 ownership, care, control1 maintenance, operation, leasing,
                                                                         management, caretaking, repalrin
            '
                contracting, and subcontracting of said premises, in that they caused and permitted said
                premises to be and remain in a dangerous and unsafe condition in that defendants, S each
                of them, caused or permitted structures and/or components and/or other parts of said buildini
          10
                Lobe and remain, Worn, torn, broken cracked, wet, and otherwisedeficlent. In addition,
                defendants, and each of them were negligent, careless and reckless in that they fhiled to
          12
                properly warn of the dangerous condition, and in that they failed to properly protect the area
          13
 '              of said dangerous condition.
          '4
                       6.      Said defendants, and each of them, IbIly and well knew, or should have
          15
                known in the cx rcise of reasonable care, that the structures and/or components and/or other

 o              parts of said building were in a dangerous and detective and unsafe condition, and a menace
     * 17
                to plaintiff and others lawfully on said premises.
          18
                       7.      By reason of the aforesaid negligence, carelessness and recklessness of
          19
                defendants, and each of them, as aforesaid, and as a direct and proximate result dmo4 a
          20
             raised mat on the stain that was not properly placed/secured at said property was not
          21
          22 properly placed and/or secured, causing plaintiff to sustain the Injuries and damages as

          23 hereinafter alleged.
          24        8.       As a direct and proximate result of the negligence, carelessness and
     61
          25 recklessness of defendants, and each of them, as aforesaid, plaintiff was hurt In herhea1th1

          26 strength and activity, sustaining severe shock and Injuries to her person, all of which said
          27 injuries have caused, continue to cause, and will In the future cause plaintiff great physical
          28




                                                                                                              EXHIBIT 1
                                                                                                              9
Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 11 of 86 Page ID #:11


        C
                                       S                                         .
             1' and emotional pain and suffering; plaintiff is informed and bclicves and therefore alleges,
             2 that said injuries are permanent in nature all to his damage ma sum according to prooL
             3                   As a direct and proximate result of the negligence, carelessness and
             4 recklessness of defendants.and each of them, as aforesaid, plaintiff has been required to
             S obtain medicaj service; and plaintiff has sitered severe emotional distress.
             6                              SECOND CAUSE OF ACTION
             7                                      PREMISES LIABILITY
             8
                                                    (Against All Defendants)
             9
                                 Plaintiff rc.alleges each and every allegation contained in the above
            10
                             I through 9, and by this reference incorporates said paragraphs as though fUlly
            11
                 forth herein.
  mS 12
   so                            On or about December 3, 2015, Defendants WALMART, INC., and DOES
      13
                     inclusive, carelessly and negligently owned, rented, managed, leased, supervised,
            14
                     ected, operated, maintained and/or controlled the premises located at 4101 Crenshaw
            15
               Blvd. Los Angeles, County of Los Angeles, California such that it was in a dangerous,
            :
               defective and unsafe condition in conscious disregard for the risk of bairn to Invitecs thereot
            17
               By reason of said carelessness, negligence and conscious disregard of the defendants, and
            is
                 each of them, said premises were unsafe and dangerous to the general public and specifically
            19
                 Plaintiff, LATRICE THOMAS.
        20
                                 Defendants WALMART, INC., and Does 1-25, inclusive, and each ofthem,
        21
        22 felled to warn Plaintiff of said dangerous, defective and unsafe condition, although said
        23 defendants, and each of them, knew of said condition.
        24                       As a direct and. legal result of said carelessness, negligence and conscious
  C
  1
        25       disregard of Defendants WALMART, INC.,. and Does 1-25, inclusive, and each of them,
  I.-
  I.-
        26 11 Plaintiff was seriously injured when she tripped on a raised mat on the stairs that was not
  1%.
  C
        27 properly placedlsecured due to the unsafe, hazardous conditions of said premises.
  -1

        28                                          PRAYIR FOR RELIEF




                                                                                                                EXHIBIT 1
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           2
                                                                    .
Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 12 of 86 Page ID #:12


         • II.



                 *HBRBFORE PlaiSttdemands judgment against Defendants as follows:
                       For general damages in a suit according to proof;
          3            For medical, hospital, and related expenses according to proof
          4            For loss Of future darning capacity Recording to pmof,
          5            For costsofsufthereinlncufred;
          6            For such other and further-relief as this Court may deem proper.
          7
          S
          9        May 10, 2017                             DOWNTONJ LA LAW OROUP
         10



 at 0
 o; 9 13
         11
         12                                                       ¶4
                                                            BY: Far! aghoubti
                                                            Attorney for Plaintiff,
                                                            LATRICE ThOMAS
                                                                                        Bsq.




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                                                                                               EXHIBIT 1
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    Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 13 of 86 Page ID #:13


                               S

            I                            JURY TRIAL DEMANDED
            2      Plalntlftdemauds blat by Jury of all Issues so triable.
            3
            4 DA7EDMay lop 2017                             DOWN'WJMLA. LAW GROUP



•           7                                               BY4JEs.
                                                            Attorn orPl___
            B        •                                      LATRIC THOMAS
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                                                                                    EXHIBIT 1
                                                                                    12
                                                                                                I
Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 14 of 86 Page ID #:14




                                                               EXHIBIT 2
                                                               13
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                                                                     EXHIBIT 2
                                                                     14
                 Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 16 of 86 Page ID #:16



                         1   Bron E. D'Angelo Esq., SBN 246819
                             Justin R. Felton, Esq., SBN 299398
                        2    PETTIT KOHN IN GRASSIA LUTZ & DOLIN PC
                             5901 W. Century Blvd., Suite 1100
                        3    Los Angeles, CA 90045
                             Telephone: (310) 649-5772
                        4    Facsimile: (310) 649-5777
                             E-mail: bdangelo@pettitkohn.com                                       01/26/18
                         5           jfelton@pettitkohn.com

                        6    Attorneys for Defendant
                             WALMART, INC.




                                                                                                                                     CASE #:BC661128 RECEIPT #: 1180129D9128 DATE PAID : 01/29/18 11:03 AM TOTAL : 435.00 TYPE : EFT
                                                                                           Carlos Hidalgo
                        7

                        8
                                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
                        9
                                                        FOR THE COUNTY OF LOS ANGELES
                    10

                    11
                             LATRICE THOMAS, an individual,                    CASE NO.: BC661128
                        12
                                                    Plaintiff,
                        13                                                    DEFENDANT W ALMART, INC.'S
                             v.                                               ANSWER TO PLAINTIFF'S COMPLAINT
                    14
                             WALMART, INC., a corporation; and
                    15       DOES 1-25, inclusive,
                                                                               Dept.:   91
                    16                              Defendants.                Judge:   Hon. Patricia Nieto
                                                                               Filed:   May 10, 2017
                    17       ~~~~~~~~~~~~~~~~
                                                                               Trial:   November 13, 2018

                        18

                        19          COMES NOW, Defendant WALMART, INC. ("Defendant"), severing itself from all

                    20       other defendants, and in answer to the Unverified Complaint ("Complaint") of Plaintiff

                    21       LATRICE THOMAS ("Plaintiff') on file herein, admits, denies and alleges as follows:

                    22                                              GENERAL DENIAL

                    23              Pursuant to the provisions of California Code of Civil Procedure section 431.30(d),

                    24       Defendant denies, generally and specifically, in the conjunctive and disjunctive, each and every

                    25       cause of action and allegation contained in the Complaint, and the Complaint as a whole, and

                    26       further generally and specifically denies that Plaintiff has sustained any loss, injury, or damage as

                    27       a proximate result of any act, breach, or omission on the part of Defendant.

                    28       Ill
E-SCANNED




            2354-8885                                                         1
                                           DEFENDANT WALMART, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
                                                                                                                  EXHIBIT 3
                                                                                                                  15
                 Case 2:18-cv-03422-RSWL-SK Document 1 Filed 04/24/18 Page 17 of 86 Page ID #:17



                        1                                  FIRST AFFIRMATIVE DEFENSE

                        2                                   (Failure to State Cause of Action)

                        3          As a first and separate affirmative defense, Defendant alleges that said Complaint, and

                        4   each and every cause of action or purported cause of action contained therein, fails to state facts

                        5   sufficient to constitute a cause of action against Defendant.

                        6                                 SECOND AFFIRMATIVE DEFENSE




                                                                                                                                      CASE #:BC661128 RECEIPT #: 1180129D9128 DATE PAID : 01/29/18 11:03 AM TOTAL : 435.00 TYPE : EFT
                        7                                     (Failure to Mitigate Damages)

                        8          As a second and separate affirmative defense, Defendant alleges that Plaintiff has failed to

                        9   mitigate her damages, if any, in connection with the matters referred to in the Complaint and that

                    10      such failure to mitigate bars and/or diminishes the Plaintiff's recovery, if any, against Defendant.

                    11                                     THIRD AFFIRMATIVE DEFENSE

                    12                              (Failure of Others to Exercise Reasonable Care)

                    13             As a third and separate affirmative defense, Defendant alleges that, if Defendant is

                    14      subjected to any liability herein, it will be due in whole, or in part, to the acts and/or omissions of

                    15      other defendants or other parties unknown at this time, and any recovery obtained by Plaintiff

                    16      should be barred or reduced according to law, up to and including the whole thereof.

                    17                                    FOURTH AFFIRMATIVE DEFENSE

                    18                                         (Exercise of Reasonable Care)

                    19             As a fourth and separate affirmative defense, Defendant alleges that, at all times relevant

                    20      herein, Defendant exercised reasonable care and did not know, and in the exercise of reasonable

                    21      care could not have known, of the alleged acts or allegations in connection with the conditions

                    22      which are the subject of the Complaint.

                    23                                     FIFTH AFFIRMATIVE DEFENSE

                    24                                                (Obvious Danger)

                    25             As a fifth and separate affirmative defense, Defendant alleges that Plaintiff failed to

                    26      exercise reasonable and ordinary care, caution, or prudence for her own safety in order to avoid

                    27      the alleged accident. The resulting injuries and damages, if any, sustained by Plaintiff were

                    28      Ill
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                                          DEFENDANT WALMART, INC. 'S ANSWER TO PLAINTIFF'S COMPLAINT
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                        1   proximately caused and contributed to by the negligence of Plaintiff in that any possible danger

                        2   with regard to the accident in question was obvious to anyone using reasonable care.

                        3                                  SIXTH AFFIRMATIVE DEFENSE

                        4                                           (Assumption of Risk)

                        5          As a sixth and separate affirmative defense, Defendant alleges that at all times herein

                        6   mentioned, Plaintiff with full knowledge of all risks attendant thereto voluntarily and knowingly




                                                                                                                                    CASE #:BC661128 RECEIPT #: 1180129D9128 DATE PAID : 01/29/18 11:03 AM TOTAL : 435.00 TYPE : EFT
                        7   assumed any and all risks attendant upon her conduct, including any purported damages alleged

                        8   to be related thereto and proximately caused thereby.

                        9                                SEVENTH AFFIRMATIVE DEFENSE

                    10                                             (Acts of Other Parties)

                    11              As a seventh and separate affirmative defense, Defendant alleges that, if Defendant is

                    12      subjected to any liability by Plaintiff herein, it will be due in whole or in part to the acts and/or

                    13      omissions of other parties, or parties unknown at this time, and any recovery obtained by said

                    14      Plaintiff should be barred or reduced according to law, up to and including the whole thereof.

                    15                                    EIGHTH AFFIRMATIVE DEFENSE

                    16                                          (Intervening Acts of Others)

                    17              As an eighth and separate affirmative defense, Defendant alleges that the injuries and

                    18      damages sustained by Plaintiff, if any, were proximately caused by the intervening and

                    19      superseding actions of others, which intervening and superseding actions bar and/or diminish

                    20      Plaintiffs recovery, if any, against Defendant.

                    21                                     NINTH AFFIRMATIVE DEFENSE

                    22                                                 (Lack of Notice)

                    23              As a ninth and separate affirmative defense, Defendant alleges that it did not have either

                    24      actual or constructive notice of the conditions, if any, which existed at the time and places

                    25      mentioned in the Complaint, which conditions may have caused or contributed to the damages as

                    26      alleged herein. Said lack of notice prevented Defendant from undertaking any measures to

                    27      protect against or warn of said conditions.

                    28      Ill
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                        1                                 TENTH AFFIRMATIVE DEFENSE

                        2                                         (Statute of Limitations)

                        3          As a tenth and separate affirmative defense, Defendant is informed and believes, and

                        4   thereon alleges that the Complaint is barred by the applicable statute oflimitations contained in

                        5   California Code of Civil Procedure, including but not limited to, sections 335.1 and 343.

                        6                               ELEVENTH AFFIRMATIVE DEFENSE




                                                                                                                                    CASE #:BC661128 RECEIPT #: 1180129D9128 DATE PAID : 01/29/18 11:03 AM TOTAL : 435.00 TYPE : EFT
                        7                            (Several Liability for Non-Economic Damages)

                        8          As an eleventh and separate affirmative defense, Defendant is informed and believes, and

                        9   thereon alleges that, if answering Defendant has any liability to Plaintiff in this action, which is

                    10      denied, it is only severally liable for Plaintiffs non-economic damages under California Civil

                    11      Code sections 1431.1 and 1431.2, and therefore request a judicial determination of the percentage

                    12      of its negligence, if any, which proximately contributed to the subject incident.

                    13                                  TWELFTH AFFIRMATIVE DEFENSE

                    14                               (Comparative Fault/Contributory Negligence)

                    15             As a twelfth and separate affirmative defense, Defendant alleges damages are barred

                    16      and/or limited based on the doctrines of comparative fault and contributory negligence.

                    17                                THIRTEENTH AFFIRMATIVE DEFENSE

                    18                                              (Additional Defenses)

                    19              As a thirteenth and separate affirmative defense, Defendant alleges that it may have

                    20      additional defenses that cannot be articulated due to Plaintiffs failure to particularize her claims,

                    21      due to the fact that Defendant does not have copies of certain documents bearing on Plaintiffs

                    22      claims and due to Plaintiffs failure to provide more specific information concerning the nature of

                    23      the damage claims and claims for certain costs of which Plaintiff alleges that Defendant may

                    24      share some responsibility. Defendant therefore reserves the right to assert additional defenses

                    25      upon further particularization of Plaintiffs claims, upon examination of the documents provided,

                    26      upon discovery of further information concerning the alleged damage claims and claims for costs,

                    27      and upon the development of other pertinent information.

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                         1                             FOURTEENTH AFFIRMATIVE DEFENSE

                         2                                       (Right to Amend Answer)

                         3           As a fourteenth and separate affirmative defense, Defendant reserves the right to amend

                         4   its answer herein, including the addition of affirmative defenses, after pleading and discovery in

                         5   preparation for trial.

                         6                                        PRAYER FOR RELIEF




                                                                                                                                  CASE #:BC661128 RECEIPT #: 1180129D9128 DATE PAID : 01/29/18 11:03 AM TOTAL : 435.00 TYPE : EFT
                        7            WHEREFORE, Defendant prays for judgment against the Plaintiff as follows:

                         8           I.      That Plaintiff take nothing by way of her action;

                         9           2.      That Defendant be awarded costs of suit incurred herein; and,

                        10           3.      For any and all other relief as the Court deems just and proper according to the

                        11   laws of the State of California.

                        12                                                                 NGRASSIALUTZ&DOLIN PC

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                    14       Dated: January 25, 2018                       By:
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                                            DEFENDANT WALMART, INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
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                        1                                      PROOF OF SERVICE
                                                          Latrice Thomas v. Walmart, Inc.
                        2                          Los Angeles Superior Court Case No. BC661128

                        3          I, the undersigned, declare that:

                        4          I am and was at the time of service of the papers herein, over the age of eighteen ( 18)
                            years and am not a party to the action. I am employed in the County of Los Angeles, California,
                        5   and my business address is 5901 W. Century Blvd., Suite 1100, Los Angeles, California 90045.

                        6          On January 25, 2018, I caused to be served the following documents:




                                                                                                                                 CASE #:BC661128 RECEIPT #: 1180129D9128 DATE PAID : 01/29/18 11:03 AM TOTAL : 435.00 TYPE : EFT
                        7          DEFENDANT WALMART, INC.'S ANSWER TO COMPLAINT

                        8   I I    BY FACSIMILE TRANSMISSION (Code Civ. Proc.§§ 1013(e)-(f)): From fax
                                   number (310) 649-5777 to the fax numbers listed below. The facsimile machine I used
                        9          complied with Cal. Rules of Court, rule 2.306 and no error was reported by the machine.
                                   I caused the machine to print a transmission record, a copy of which will be maintained
                    10             with the document(s) in our office.

                    11      [X)    BY MAIL: By placing a copy thereof for delivery in a separate envelope addressed to
                                   each addressee, respectively, as follows:
                    12
                                   [X]     BY FIRST-CLASS MAIL (Code Civ. Proc.§§ 1013(a)-(b))
                    13             I I     BY OVERNIGHT DELIVERY (Code Civ. Proc.§§ 1013(c)-(d))
                                   I I     BY CERTIFIED MAIL, RETURN RECEIPT REQUESTED (Code Civ.
                    14                     Proc.§§ 1013(a)-(b))

                    15      [ ]    BY ELECTRONIC DELIVERY (Code Civ. Proc.§ 1010.6 and Cal. Rules of Court,
                                   rule 2.251): Based on an agreement between the parties to accept service by e-mail or
                    16             electronic transmission, I caused such document(s) to be electronically served to those
                                   parties listed below from e-mail address baraiza@pettitkohn.com. The file transmission
                    17             was repmied as complete and a copy of the Service Receipt will be maintained with the
                                   original document(s) in our office.
                    18
                            I I    BY ELECTRONIC SERVICE (California Rule of Court 2.251): By submitting an
                    19             electronic version of the document(s) via file transfer protocol (FTP) to OneLegal Online
                                   Court Services through the upload feature at www.onelegal.com.
                    20
                            Farid Yaghoubtil, Esq.
                    21      Igor Fradkin, Esq.
                            Downtown L.A. Law Group
                    22      3470 Wilshire Blvd, Suite 634
                            Los Angeles, CA 90010
                    23      Tel:    (213) 389-3765
                            Fax: (877) 389-2775
                    24      Email: Igor@downtownlalaw.com
                            Attorneys for Plaintiffs
                    25      LATRICE THOMAS

                    26              I am readily familiar with the firm's practice of collection and processing correspondence
                            for mailing. Under that practice, it would be deposited with the United States Postal Service on
                    27      that same day with postage thereon fully prepaid at Los Angeles, California, in the ordinary
                            course of business. I am aware that service is presumed invalid if postal cancellation date or
                    28      postage meter date is more than one day after the date of deposit for mailing in affidavit.
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                         1          I declare under penalty of perjury under the laws of State of California that the
                             foregoing is true and correct. Executed on January 25, 18, t Los
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                                                                                                                        CASE #:BC661128 RECEIPT #: 1180129D9128 DATE PAID : 01/29/18 11:03 AM TOTAL : 435.00 TYPE : EFT
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                                                                        01/26/18

                                                                Carlos Hidalgo
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             1          20.    Admit that YOU did not slip on a liquid.

             2          21.    Admit that YOU are a citizen of California.

             3          22.    Admit that YOU are a resident of California.

             4          23.    Admit that YOUR damages are in excess of $75,000.

             5          24.    Admit that YOUR fall was caused by a raised mat.

             6          25.    Admit that YOU do not know the brand of the raised mat YOU allege to have

            7    caused the INCIDENT.

             8          26.    Admit that YOU were not wearing closed toe shoes at the time of the INCIDENT.

             9          27.    Admit that YOU have no DOCUMENTS which support YOUR contention that a

            10   raised mat caused the INCIDENT.

            11          28.    Admit that YOU have no DOCUMENTS which support YOUR contention that

            12   the floor mat that allegedly caused the INCIDENT was not properly placed at the time of the

            13   INCIDENT.

            14          29.    Admit that YOU have no DOCUMENTS which support YOUR contention that

            15   the floor mat that allegedly caused the INCIDENT was not properly secured at the time of the

            16   INCIDENT.

            17          30.    Admit that YOU have no facts which support YOUR contention that the floor mat

            18   that allegedly caused the INCIDENT was not properly placed at the time of the INCIDENT.

            19          31.    Admit that YOU have no facts which support YOUR contention that the floor mat

        20       that allegedly caused the INCIDENT was not properly secured at the time of the INCIDENT.

        21

        22                                                                    GRASSIA LUTZ & DOLIN PC

        23

        24       Dated: January 25, 2018                     By:
        25

        26

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                                       REQUEST FOR ADMISSIONS TO PLAINTIFF, SET ONE
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 1   Response to Interrogatory No. 2.3:

 2          Objection. Not relevant to the subject matter of this lawsuit and not calculated to

 3   lead to the discovery of admissible evidence; the demand is so broad and unlimited as to

 4   time and scope as to be oppressive and burdensome and calculated to annoy and harass
 5   Responding Party.

 6          None.

 7          Responding Paiiy reserves the right to amend and/or supplement this response, as

 8   discovery and investigation are ongoing and continuing.

 9   Form Interrogatorv 2.4:
10          At the time of the INCIDENT, did you have any other permit or license for the
11   operation of a motor vehicle? If so, state:
12          a) the state of other issuing entity;

13          b) the license number and type;

14          c) the date of issuance; and

15          d) all restrictions.

16   Response to Interrogatory No. 2.4:

17          Objection. Not relevant to the subject matter of this lawsuit and not calculated to

18   lead to the discovery of admissible evidence; the demand is so broad and unlimited as to

19   time and scope as to be oppressive and burdensome and calculated to annoy and harass
20   Responding Party.

21          No.

22          Responding Party reserves the right to amend and/or supplement this response, as

23   discovery and investigation are ongoing and continuing.

24   Form Interrogatory 2.5:
25          State: (a) your present resident address; (b) your residence addresses for the last

26   five years; and (c) the dates you lived at each address.

27   Response to Interrogatory No. 2.5:
28          Objection. Not relevant to the subject matter of this lawsuit and not calculated to



                                                    4

         PLAINTIFF'S RESPONSE TO DEFENDANT'S FORM INTERROGATORIES, SET ONE
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 1   lead to the discovery of admissible evidence; the demand is so broad and unlimited as to
 2   time and scope as to be oppressive and burdensome and calculated to annoy and harass
 3   Responding Party. General objections are incorporated herein.
 4          (a) - (c) 2738 Council St., #3, Los Angeles, CA 90026, Approximately 2014 to
 5              present; 4056 S. Vermont Ave., #102, Los Angeles, CA 90371, Approximately
 6              2013 to 2014.
 7          Responding Party reserves the right to amend and/or supplement this response, as
 8   discovery and investigation are ongoing and continuing.
 9   Form Interrogatory 2.6:
10          State: (a) the name, address, and telephone number of your present employer or
11   place of self-employment; and (b) the name, address, dates of employment, job title and
12   nature of work for each employer or self-employment you have had from five years before
13   the incident until today.
14   Response to Interrogatory No. 2.6:
15          Objection. Not relevant to the subject matter of this lawsuit and not calculated to
16   lead to the discovery of admissible evidence; the demand is so broad and unlimited as to
17   time and scope as to be oppressive and burdensome and calculated to annoy and harass
18   Responding Party.
19           (a) Allied Universal Private Security, 639 Wilshire Blvd., Los Angeles, CA
20               90010, (213) 362-3650;
21           (b) Allied Universal Private Security, 639 Wilshire Blvd., Los Angeles, CA
22               90010, October 2016 to present, Security Officer, Secw·ity; Los Angeles
23               Department of Public Social Services, 813 E. 4th Pl., Los Angeles, CA 90013,
24               Approximately 2015 to 2016, Assistant, Clerical; In-Home Supportive
25               Services, 2707 S. Grand Ave., Los Angeles, CA 90007, Approximately 2013
26               to 2014, In Home Care Provider, In Home Care.
27           Responding Party reserves the right to amend and/or supplement this response, as
28   discovery and investigation are ongoing and continuing.


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          PLAINTIFF'S RESPONSE TO DEFENDANT'S FORM INTERROGATORIES, SET ONE
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 1   Resnonse to Reguest for Admission No. 19:
 2           Deny.
 3   Resnonse to Reguest for Admission No. 20:
 4           Deny.
 5   Resnonse to Reguest for Admission No. 21:
 6           Admit.
 7   Resnonse to Reguest for Admission No. 22:
 8           Admit.
 9   Resnonse to Reguest for Admission No. 23:
10           Admit.
11   Resnonse to Reguest for Admission No. 24:
12           Deny.

13   Resnonse to Reguest for Admission No. 25:
14           Admit.
15   Resnonse to Reguest for Admission No. 26:
16           Admit.
17   Resnonse to Reguest for Admission No. 27:
18           Deny.

19   Resnonse to Reguest for Admission No. 28:
20           Deny.
21   Resnonse to Reguest for Admission No. 29:
22           Deny.

23   Resnonse to Reguest for Admission No. 30:
24           Deny.

25   Ill
26   Ill
27   Ill
28   Ill


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